
662 S.E.2d 551 (2008)
Robert Lemoyne WATSON, Jr.
v.
Gayle Powell WATSON.
No. 593P07.
Supreme Court of North Carolina.
April 10, 2008.
K. Edward Greene, Tobias S. Hampson, Raleigh, for Gayle Watson.
Wiley P. Wooten, Benjamin D. Overby, Burlington, for Robert Watson.
Prior report: ___ N.C.App. ___, 652 S.E.2d 310.

ORDER
Upon consideration of the petition filed on the 11th day of December 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
